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11
                            UNITED STATES DISTRICT COURT
12
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,              No. CR 19-00161-AB
14
               Plaintiff,                   GOVERNMENT’S SENTENCING POSITION
15                                          REGARDING DEFENDANT EDWIN OLIVA
                     v.                     EXHIBITS
16
     EDWIN OLIVA,
17                                          Hearing Date: January 7, 2022
               Defendant.                   Hearing Time: 1:30 P.M.
18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys Maria Jhai and
22   Kathrynne Seiden, hereby files its sentencing position regarding
23   defendant Edwin Oliva (“defendant”).
24        This position is based upon the attached memorandum of points
25   and authorities and exhibits 1-6 attached hereto, exhibit 7 (to be
26   filed under seal), the files and records in this case, the
27   Presentence Report (“PSR”) disclosed by the United States Probation
28   and Pretrial Service Office (“USPO”) on December 3, 2021, (docket
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 1   number (“Dkt.”) 88), the USPO’s December 3, 2021, sentence

 2   recommendation letter (Dkt. 87), and such further evidence and

 3   argument as the Court may wish to consider at the time of

 4   sentencing.

 5        The government reserves its right to file any response to

 6   defendant’s sentencing position, if necessary.

 7

 8   Dated: December 24, 2021           Respectfully submitted,

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13                                            /s/ Maria Jhai
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        Defendant Edwin Oliva (“defendant”) is a drug dealer who gave a

 4   lethal quantity of fentanyl to victim B.M., knowing that it was

 5   fentanyl but representing that it was cocaine.         When B.M. was

 6   thereafter rendered unconscious--and possibly had already died--

 7   defendant filmed himself raping her inert body while she lay

 8   unmoving, face down on his bed.       Defendant then posted the rape

 9   videos to Snapchat.

10        Although defendant knew that B.M. was unconscious or already

11   dead, defendant then spent several hours attempting to cover his

12   tracks, hiding B.M.’s possessions and evidence of his drug

13   distribution--including almost two kilograms of heroin, other drugs,

14   a firearm, a digital scale, nitrile gloves, and other distribution

15   paraphernalia--in his girlfriend’s car.        Defendant did not seek

16   medical help for B.M. until after 8:00 am the next morning when it

17   was far too late to help her.      Even then, defendant only called 911

18   and hung up.    When the police did arrive, and over the course of

19   several interviews, defendant lied repeatedly about his conduct the

20   night before.   Rather than show remorse, or respect, for the victim,

21   defendant bragged about the sexual positions he claimed they had

22   used and called her “a freak” in bed.        From prison, defendant called

23   his girlfriend and instructed her to lie to police and to destroy

24   the evidence of his drug trafficking that he left in her car,

25   including a notebook and blue flip phone that held a record of his

26   drug sales and communications with his drug customers.

27        In sum, defendant knowingly gave B.M. the line of fentanyl that

28   killed her, sexually violated her dead or unconscious body, and in

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 1   the aftermath of these acts, demonstrated only a hardened instinct

 2   for self-preservation.      Not remorse.   Not compassion.      Not

 3   understanding of the nature of his conduct or the value of the

 4   victim’s life.    The consequences for the victim and her family are

 5   devastating and irreversible.

 6          Defendant was charged in a four-count first superseding

 7   indictment (the “indictment”) with distribution of fentanyl

 8   resulting in death (count one), possession with intent to distribute

 9   heroin (count two), possession with intent to distribute fentanyl

10   (count three), and carrying and possessing a firearm in furtherance

11   of a drug trafficking crime (count four).        (Dkt. 37.)     On September

12   10, 2021, defendant pleaded guilty pursuant to a plea agreement to

13   counts one and two. (Dkt. 85 (“Plea Ag.”).)

14          As explained herein, the government disagrees with the total

15   offense level calculated by the USPO.        Applying the applicable

16   sentencing factors, defendant’s guidelines range is life in prison

17   based on a total offense level of 43 and criminal history category

18   I.    The government recommends that the Court sentence defendant to

19   420 months’ imprisonment—-a 35-year sentence-—followed by five years

20   of supervised release.

21   II.    FACTUAL BACKGROUND

22          Defendant gave B.M. the fentanyl that caused her death in the

23   early morning of February 28, 2019.

24          A.   DEFENDANT AND B.M. PLAN TO MEET

25          Defendant and B.M. met for the first time on the evening of

26   February 27, 2019. (PSR ¶ 10; Plea Ag. ¶ 19.)         A mutual friend,

27

28

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 1   M.B.,1 introduced defendant to B.M. as someone who could sell B.M.

 2   cocaine.      (PSR ¶ 10; Plea Ag. ¶ 19.)   Text message communications

 3   between defendant, B.M., and M.B. create a chronology of the night.

 4   (See PSR ¶¶ 10-17; Plea Ag. ¶ 19.)

 5          Starting at about 6:00 pm, defendant, M.B. and B.M. texted

 6   about plans to meet up in Hollywood after B.M. got off work. (Plea

 7   Ag. ¶ 19; Ex. 1 at USAO_OLIVA_002613-2615.)2         At about 10:03 pm,

 8   B.M. canceled, saying she did not have a ride from Santa Clarita,

 9   where she was working, to Hollywood.       (PSR ¶ 12; Plea Ag. ¶ 19; Ex.

10   1 at USAO_OLIVA_002613.)      B.M. explained to defendant that she did

11   not have gas money and that she would need not only a ride to

12   Hollywood but then a ride back to Lancaster after any meet up.            (Ex.

13   1 at USAO_OLIVA_002611.)      Defendant offered to pick her up and drive

14   her to Hollywood where, B.M. expected, they would meet her friend

15   M.B.       (PSR ¶ 12; Plea Ag. ¶ 19; Ex. 1 at USAO_OLIVA_002612-2613)

16

17

18

19          1M.B. also goes by a nickname starting with “T” and is
     referred to in text messages and reports of investigation by that
20   name.
           2 Exhibits 1 and 3 are true and correct copies of excerpts of
21
     reports from B.M.’s and defendant’s cell phones, respectively,
22   showing text messages on February 27 and 28, 2019. Unredacted
     versions of the exhibits were produced in discovery. The text
23   messages have been redacted for relevance and privacy for this
     filing, including to exclude text messages between persons other
24   than defendant, B.M., M.B., and defendant’s texts with his brother.
25   Page number citations are the bates numbers used in production.
     Time stamps for the text messages in Ex. 1 are in Pacific Standard
26   Time (“PST”). Time stamps for the text messages in Ex. 3 are in
     Coordinated Universal Time (“UTC”), which is converted to PST by
27   subtracting 8 hours. Messages in Ex. 1 display in reverse
     chronological order; messages in Ex. 3 display in chronological
28   order.
                                           3
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 1            B.   DEFENDANT TAKES B.M. TO HIS HOUSE WITHOUT TELLING HER AND
                   SHE FEELS UNSAFE
 2

 3            Defendant picked up B.M. but did not take her to Hollywood or

 4   to meet up with M.B. as B.M. expected.            Instead, defendant drove

 5   B.M. approximately 40 miles to his home in Montebello, about 16

 6   miles past Hollywood.         (PSR ¶¶ 13-14; Plea Ag. ¶ 19; Ex. 2.)3         In

 7   text messages to her friend during the ride, B.M. indicated that she

 8   did not know where defendant was taking her, did not know where she

 9   was, and did not feel safe with defendant:

10       FROM      TO            CONTENT                              TIME
11       B.M.      M.B.          [M.B.] I’m way past L.A.             11:48 pm
12                               what’s going on?
13       M.B.      B.M.          I thought u guys goin to             11:48 pm
14                               Hollywood?
15       M.B.      B.M.          Did u ask him if where u guys        11:49 pm
16                               gonna go??
17       M.B.      B.M.          He told me his gonna give u          11:49 pm
18                               the coke tho that’s it
19       B.M.      M.B.          That’s what I thought. No I          11:49 pm
20                               thought we were meeting
21       B.M.      M.B.          You                                  11:49 pm
22       B.M.      M.B.          Idk where we are please call         11:49 pm
23                               him
24       M.B.      B.M.          I’m calling him rn                   11:51 pm
25

26
     3 Exhibit 2 is a pdf of maps showing the distance from B.M.’s work
27   to Hollywood, and from Hollywood to defendant’s residence in
     Montebello, California. The maps were produced to defense counsel
28   concurrently with this filing.
                                               4
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 1    M.B.     B.M.          He didn’t pick up he said his        11:51 pm
 2                           busy
 3    B.M.     M.B.          Call him again please I don’t        11:51 pm
 4                           feel safe
 5    M.B.     B.M.          Tell him to answer the phone         11:52 pm
 6    M.B.     B.M.          His stupid I thought u guys          11:52 pm
 7                           goin to Hollywood and I will
 8                           meet u over there
 9    M.B.     B.M.          Just tell him if he can drop         11:53 pm
10                           u off at my house and give
11                           the coke
12    M.B.     B.M.          He don’t pick up again I             11:53 pm
13                           called him a lot
14    M.B.     B.M.          Bri u ok?                            11:54 pm
15

16   (PSR ¶ 13; Plea Ag. ¶ 19; Ex. 1 at USAO_OLIVA_002608-2609.)
17        By 11:57 pm, defendant and B.M. arrived at a Vons supermarket
18   in Montebello, California.      B.M. texted her friend:
19     FROM        TO                     CONTENT                      TIME
20    B.M.     M.B.        I’m in a bathroom at vons right 11:57pm
21                         now but idk what city we are
22                         and I don’t wana be alone with
23                         him anymore
24

25   (PSR ¶ 13; Plea Ag. ¶ 19; Ex. 1 at USAO_OLIVA_002608.)
26        M.B. texted defendant to let him know that B.M. was scared.
27   (Ex. 3 at USAO_OLIVA_002643.)       Defendant asked M.B. to lie to B.M.
28

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 1   and say that M.B. planned to meet up with them at defendant’s house.

 2   (Id.)    B.M. identified this as a lie, texting her friend:

 3     FROM            TO                CONTENT                      TIME
 4    B.M.        M.B.      He’s lying                         12:03 am
 5    B.M.        M.B.      He keeps lying to me               12:03 am
 6    M.B.        B.M.      What did u told u?                 12:03 am
 7    M.B.        B.M.      Wya?? U at the car?                12:04 am
 8    B.M.        M.B.      That you were meet us at his       12:04 am
 9                          house
10

11   (Ex. 1 at USAO_OLIVA_002607.)
12           C.   DEFENDANT GIVES B.M. A LINE OF FENTANYL THAT SHE BELIEVES
                  IS COCAINE
13

14           About ten minutes later, at 12:16 am, B.M. texted M.B. that
15   B.M. and defendant had arrived at defendant’s apartment.           (PSR ¶ 14;
16   Ex. 1 at USAO_OLIVA_002606.)      She followed this text moments later
17   with a text stating, “I don’t wana stay I wana see you but he’s not
18   gona let me leave.” (PSR ¶ 14; Plea Ag. ¶ 19.)
19           As they arrived at the house, defendant told B.M. that he did
20   not in fact have any cocaine, as he had promised, but rather he had
21   given it to a friend earlier.       (PSR ¶ 14; Plea Ag. ¶ 19; Ex. 1 at
22   USAO_OLIVA_002606.)    Shortly afterwards, however, defendant gave
23   B.M. a line of what B.M. believed was cocaine, but in fact was the
24   fatal line of fentanyl.     At 12:23 am, B.M. messaged her friend:
25    FROM        TO        CONTENT                            TIME
26    B.M.        M.B.      He just gave me a line and I       12:23 am
27                          don’t think it’s coke
28

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 1       B.M.      M.B.        I thinks he just drugged me         12:24 am
 2                             with something bad and he’s
 3                             gona rape me [M.B.]
 4       M.B.      B.M.        Did u take it??                     12:24 am
 5       B.M.      M.B.        Yes I thought it was coke           12:25 am
 6                             bit it’s not
 7

 8   (PSR ¶ 15; Plea Ag. ¶ 19; Ex. 1 at USAO_OLIVA_002605.)               “Yes I
 9   thought it was coke bit it’s not” is the final text message from
10   B.M.’s phone.        Two minutes later, M.B. texted B.M. again asking:
11   “How u feel?”        (Ex. 1 at USAO_OLIVA_002605.)       B.M. never responded.
12   Id.
13            D.   DEFENDANT SEXUALLY VIOLATES B.M.’S INERT BODY
14            At about 1:14 am, about 50 minutes after B.M.’s final text
15   message, defendant used his iPhone to record himself performing
16   penetrative sex acts on B.M.’s dead or unconscious body.               (PSR ¶ 16;
17   Ex. 7; see also Plea Ag. ¶ 19.4)          Defendant recorded four videos
18   spanning six minutes showing himself penetrating B.M.’s vagina and
19   anus with his penis. (PSR ¶ 16; Plea Ag. ¶ 19.)             B.M.’s body is
20   motionless and non-responsive throughout; she does not move,
21   respond, or make a sound.          (PSR ¶ 16; Ex. 7.)     B.M.’s left hand is
22   tucked underneath her body and is a reddish-purple color, consistent
23   with a lack of circulation.          (PSR ¶ 16; Ex. 7; Ex. 4 at
24

25

26
     4  Redacted copies of the videos defendant recorded will be filed in
27   a separate under-seal filing as Exhibit 7 to this sentencing
     position. The videos were produced under Bates number
28   USAO_OLIVA_000461.
                                               7
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 1   USAO_OLIVA_000028.)5     She is lying face down, with no hands or other

 2   positioning to keep her face from pressing into the mattress.            (PSR

 3   ¶ 16; Ex. 7; Ex. 4 at USAO_OLIVA_000028.)          Defendant did not wear a

 4   condom.      (PSR ¶ 16; Ex. 7.)   Afterward, defendant shared the videos

 5   in a Snapchat story.     (PSR ¶ 16.)

 6           E.    DEFENDANT KNOWS B.M. IS “NOT BREATHING” AND DOES NOTHING
                   TO HELP HER
 7

 8           Defendant’s text messages confirm that defendant understood

 9   B.M. was either unconscious or dead nearly six hours before he

10   called the police or sought medical attention.          At 2:22 am,

11   defendant texted M.B.: “You’re friend fell asleep.” (PSR ¶ 17; Plea

12   Ag. ¶ 19; Ex. 3 at USAO_OLIVA_002644.)          Two minutes later, he wrote:

13       FROM        TO      CONTENT                                 TIME
14       Defendant M.B.      I’m just scared that she not       2:24 am
15                           breathing does she do this
16                           often
17

18   (PSR ¶ 17; Plea Ag. ¶ 19.)
19           Defendant and M.B. then spoke on the phone.        (PSR ¶ 18; Plea
20   Ag. ¶ 19.)     M.B. told defendant to call 911.       (PSR ¶ 18; Plea Ag.
21   ¶ 19.) Defendant did not do so until almost six hours later. (PSR
22   ¶ 18; Plea Ag. ¶ 19.)     Finally, at 8:06 a.m., defendant called 911,
23   but he hung up without reporting what happened.          (PSR ¶ 18; Plea Ag.
24   ¶ 19.) Rather, he reported B.M.’s death only after 911 called him
25   back.      (PSR ¶ 18; Plea Ag. ¶ 19.)       Paramedics arrived almost
26   immediately and pronounced B.M. dead upon arrival.          (PSR ¶ 19; Plea
27
     5 Exhibit 4 is a true and correct copy of certain investigative
28   reports produced in discovery in this case.
                                             8
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 1   Ag. ¶ 19.)    As the Los Angeles County Medical Examiner-Coroner

 2   determined, B.M. had both alcohol and fentanyl in her system, but

 3   the alcohol was not present in sufficient quantities to have caused

 4   her death on its own. (PSR ¶ 19; Plea Ag. ¶ 19.)          Thus, B.M. would

 5   not have died if defendant had not given her fentanyl, making the

 6   fentanyl that defendant gave B.M. the but-for cause of her death.

 7   (PSR ¶ 19; Plea Ag. ¶ 19.)

 8        F.      DEFENDANT HIDES B.M.’S POSSESSIONS AND EVIDENCE OF DRUG
                  TRAFFICKING
 9

10        During the nearly six hours after defendant texted M.B. that

11   B.M. was “not breathing” and before he called 911, defendant cleared

12   his house of B.M.’s possessions and evidence of his drug

13   trafficking.    (PSR ¶ 20; Plea Ag. ¶ 19.)       Defendant collected and

14   removed items from his apartment and put them in the trunk of his

15   girlfriend’s Toyota Camry, which he then moved and parked a short

16   distance away from his house to hide it from law enforcement.            (PSR

17   ¶¶ 20; Plea Ag. ¶ 19.)

18        The drugs and drug paraphernalia defendant hid in the trunk of

19   his girlfriend’s car included: 1.895 kilograms of heroin, 21 grams

20   of fentanyl, 1.43 kilograms of marijuana, .36 grams of

21   methamphetamine, plastic baggies, rubber gloves, and masks, a

22   digital scale, and utility knife replacement blades. (PSR ¶ 21; Plea

23   Ag. ¶ 19.)    In a cardboard box, mixed in with the drugs and drug

24   paraphernalia, defendant also hid a loaded Smith & Wesson model M&P

25   45 Shield, .45 caliber semiautomatic pistol.         (PSR ¶ 21; Plea Ag.

26   ¶ 19.)    There was more evidence of drug trafficking in the passenger

27   compartment of the car, including a blue Alcatel flip phone and a

28   notebook that defendant used as a pay/owe ledger. (PSR ¶ 23; Plea

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 1   Ag. ¶ 19.)    Messages in the phone documented defendant’s drug deals,

 2   including text messages from customers using coded language to ask

 3   to buy drugs.    (PSR ¶ 23; Plea Ag. ¶ 19; Ex. 4 at

 4   USAO_OLIVA_000037.)     The pay/owe ledger included a list of customers

 5   followed by dates, narcotics, quantities, amount paid, and amount

 6   owed for various narcotics identified as “Black,” “Clear,” “Fety,”

 7   “Glass,” “Chyna,” and “Chyna White.”        Customers identified in the

 8   ledger are the same as those in the blue flip phone, including,

 9   e.g., “Chicago.” (PSR ¶ 23; Plea Ag. ¶ 19; Ex. 5.)6

10        Defendant also hid B.M.’s purse and cellphone in the trunk of

11   his girlfriend’s car.     (Ex. 4 at USAO_OLIVA_000007, _000033.)         A

12   surveillance camera showed defendant moving B.M.’s purse into the

13   trunk of the car at about 8:00 am, shortly before he called the

14   police.   (Ex. 4 at USAO_OLIVA_000007-8.)

15        G.      DEFENDANT LIES TO POLICE

16        Defendant then lied repeatedly in interviews with police on the

17   day of B.M.’s death.     (PSR ¶¶ 31-40.)     His lies included the

18   following:

19               Defendant claimed repeatedly that he used his brother’s
20   car to pick up B.M. (not his girlfriend’s car, which he had hidden

21   on a nearby street).     (PSR ¶¶ 32, 34.)     He recanted this lie only

22   after his girlfriend--who came to his house looking for him--told

23   police that defendant had her Toyota Camry, and police thereafter

24   found it where defendant had tried to hide it.          (PSR ¶ 34.)    Even

25   after the car was discovered, defendant claimed he did not have the

26

27   6 Exhibit 5 is a true and correct copy of excerpts of the
     photocopies of the notebook recovered from the Toyota Camry that was
28   produced in discovery in this case.
                                           10
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 1   keys to the car.    The keys were later found in his pocket.          (PSR

 2   ¶ 39; Ex. 4 at USAO_OLIVA_000036.)

 3              At thought she snorted cocaine that she brought for
 4   herself.    (PSR ¶ 32.)   Hours later he admitted that he gave her

 5   fentanyl.   (PSR ¶ 37.)

 6              Defendant also lied--and bragged--about having consensual
 7   sex with B.M., telling officers that he has a “good physique” and

 8   that B.M. “came onto him.”      (PSR ¶ 32.)     Defendant described

 9   multiple sexual positions he claimed they had used.           (PSR ¶ 32; see

10   also Ex. 4 at USAO_OLIVA_000026-27.)        Defendant described B.M. as a
11   “freak” in bed and claimed that she was “into” it. (PSR ¶ 35; Ex. 4
12   at USAO_OLIVA_000030.)     He denied that she was passed out while they
13   were having sex and claimed that she was ‘moaning the whole time . .
14   . as if she is awake and aware.”       (PSR ¶ 35; Ex. 4 at
15   USAO_OLIVA_000031.)     When confronted with the videos on his phone,
16   defendant admitted that she was probably “knocked out” at that
17   point.   (PSR ¶ 3; Ex. 4 at USAO_OLIVA_000031.)         Defendant claimed
18   that he was “too intoxicated” to remember, although a blood alcohol
19   test taken by police the next morning showed no trace of alcohol in

20   his system. (PSR ¶ 35; Ex. 4 at USAO_OLIVA_000025; see also

21   USAO_OLIVA_000037.)

22              Defendant claimed that he was not aware that B.M. was not
23   breathing until he returned from a morning run.          (PSR ¶¶ 32, 36.)

24   When confronted with his text to M.B. about B.M. “not breathing,” he

25   said he did not remember it.       (PSR ¶ 36.)    Sometime between the time

26   he sent the message and the time officers arrived to investigate,

27   defendant erased the text messages from his phone.          (PSR ¶ 32.)

28

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 1             Defendant told officers that B.M. did not have a purse
 2   with her and claimed to not know where her cellphone was.            (Ex. 4 at

 3   USAO_OLIVA_000026, _000031-32, _000034.)         B.M.’s text messages

 4   establish that she was using her cellphone throughout the night,

 5   including after she arrived at defendant’s apartment.           Her cellphone

 6   and purse were recovered from the trunk of defendant’s girlfriend’s

 7   car. (Ex. 4 at USAO_OLIVA_000033.)         As discussed above, defendant

 8   was captured on surveillance video placing the purse in the trunk

 9   shortly before calling 911.      (Id. at USAO_OLIVA_000037.)

10        H.    DEFENDANT TELLS HIS GIRLFRIEND TO DESTROY EVIDENCE
11        Several days after his arrest, on March 5, 2019, defendant
12   called his girlfriend from prison and directed her to destroy
13   evidence of his drug trafficking and to lie to police.
14   Specifically, defendant told his girlfriend to tell police that the
15   blue Alcatel phone that defendant used to set up drug deals was a
16   “play phone” for their children.       (PSR ¶ 24; Plea Ag. ¶ 19.)       He
17   told her to destroy the phone when she got the car out of impound,
18   to “break it, throw it, whatever,” and to “burn” the notebook
19   containing his pay/owe ledger.       (PSR ¶ 24; Plea Ag. ¶ 19.)

20   III. SENTENCING GUIDELINES CALCULATIONS

21        As explained herein, defendant’s total offense level is 43, not

22   39 as calculated by the USPO.       Accordingly, defendant’s guidelines

23   sentence is life in prison.

24        First, the government agrees with the USPO’s calculation of

25   defendant’s base offense level and application of adjustments for

26   possession of the Smith & Wesson firearm and for obstruction of

27   justice.   Specifically, as set forth in the PSR and stipulated in

28   the plea agreement, under USSG § 2D1.1(a)(2), defendant’s base

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 1   offense level is 38 because death resulted from defendant’s

 2   distribution of fentanyl to the victim; under USSG § 2D1.1(b)(1), a

 3   two-level increase applies because defendant possessed a firearm--

 4   the loaded Smith & Wesson M&P 45 Shield handgun that he tried to

 5   hide in his girlfriend’s car--in connection with the offense; and

 6   under USSG § 3C1.1, an additional two level increase applies because

 7   defendant obstructed the investigation of his crimes by trying to

 8   hide evidence and repeatedly lying to police, and by telling his

 9   girlfriend to lie to police and to destroy evidence of his drug

10   dealing (PSR ¶ 51).     The parties stipulated to the base offense

11   level and the two-level increase for obstruction of justice in the

12   plea agreement.    Without more, defendant’s total offense level,

13   after credit for acceptance of responsibility, would be 39 as

14   calculated by USPO.

15        Here, however, an additional four-level increase applies,

16   bringing defendant’s total offense level to 43, because when

17   defendant gave B.M. the fentanyl, he knowingly misrepresented it as

18   another substance.     See USSG § 2D1.1(b)(13).      As reflected in text

19   messages, B.M. met with defendant to buy cocaine.          (PSR ¶ 10; Plea

20   Ag. ¶ 19.)   When they arrived at his house, defendant told B.M. that

21   he did not have cocaine, but as illustrated in the text messages,

22   B.M. affirmatively believed that the line of white powder defendant

23   gave her ten minutes later was, in fact, cocaine.          (PSR ¶ 14; Plea

24   Ag. ¶ 19; Ex. 2 at USAO_OLIVA_002606.)        Defendant, as he has

25   admitted, knew that the white powder was fentanyl but did not tell

26   B.M.; rather, he claimed to police that he told her it was “some

27   other stuff.” (PSR ¶ 37; Plea Ag. ¶ 19.)         B.M.’s contemporaneous

28   text messages show, however, that she thought the line was cocaine.

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 1   (PSR ¶ 15; Plea Ag. ¶ 19 (“He just gave me a line and I don’t think

 2   it’s coke”; “I thought it was coke bit [sic] it’s not.”).)            Upon

 3   taking the drug--which, as described by defendant, she divided into

 4   two lines and snorted while he watched--B.M. immediately recognized

 5   it as more powerful than she had expected, texting: “I thinks [sic]

 6   he just drugged me with something bad.”         (PSR ¶ 15; Plea Ag. ¶ 19.)

 7   The only plausible inference from these communications is that,

 8   although defendant first told B.M. he did not have cocaine, he then

 9   took it back and represented that the line he was giving her was, in

10   fact, cocaine.    There is no other reason B.M. would expect cocaine

11   after defendant told her that he did not have any.          B.M.’s reaction

12   after she took the drug—where she immediately recognized the

13   substance defendant gave her as “something bad” that she did not

14   intend to take--confirms the inference. (PSR ¶ 15; Plea Ag. ¶ 19.)

15        Thus, defendant’s misinformation deprived B.M. of the ability

16   to make an informed choice about the substance she was consuming.

17   Of the two persons in the room, only defendant knew that what he

18   gave her was fentanyl and he did not tell her, instead leading her

19   to believe it was cocaine after all.        That misinformation caused

20   B.M.’s death.    Indeed, the Sentencing Commission amended the

21   Guidelines to address circumstances exactly like these.           See USSG

22   App. C, amendment 807 (Reason for Amendment) (2018) (“Because of

23   fentanyl’s extreme potency, the risk of overdose death is great,

24   particularly when the user is inexperienced or unaware of what

25   substance he or she is using.”) (emphasis added.)          Under these

26   circumstances, the four-level increase for administering fentanyl

27   but misrepresenting the nature of the substance applies.

28   Defendant’s total offense level is thus 43.

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 1          Even if the Court declines to apply this enhancement, the Court

 2   should depart upward an equivalent amount under 18 U.S.C. § 3553(a)

 3   because defendant’s knowing misrepresentation was deadly and is

 4   significantly aggravating.

 5          As the PSR concludes, defendant does not have recorded criminal

 6   convictions and is therefore in criminal history category I.            (PSR ¶

 7   61.)   His guidelines range as calculated by the USPO is 262 to 327

 8   months, with a mandatory-minimum term of five years of supervised

 9   release.   (PSR ¶ 103.)    With the applicable four-level increase for

10   misrepresenting fentanyl as another substance, defendant’s total

11   offense level is 43 and his guidelines range is life in prison.

12   USSG Sentencing Table, Ch. 5, Pt. A.

13   IV.    GOVERNMENT’S SENTENCING RECOMMENDATION

14          The government recommends a sentence of 420 months’

15   imprisonment, followed by a mandatory term of five years’ supervised

16   release, and a $200 mandatory special assessment.          This case

17   concerns loss of life under tragic circumstances involving

18   abominable offense conduct.      A 420-month sentence is the minimum

19   that will account for defendant’s conduct in the commission of these

20   offenses, including his predatory conduct in driving the victim to

21   his home against her wishes and expectations, giving her a fatal

22   quantity of fentanyl under the guise that it was another drug,

23   raping her when she was unconscious or dead, sharing the rape video

24   on social media, and spending hours hiding evidence while he did

25   nothing to help, or honor, the victim who lay dead or dying in his

26   apartment, where she had not wanted to go in the first place.            See

27   18 U.S.C. § 3553(a)(1), (2)(A)-(C).

28

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 1        The seriousness of the offense conduct is self-evident.            See 18

 2   U.S.C. § 3553(a)(1), (2)(A).       Defendant distributed a substance that

 3   caused the victim’s death.      Distribution resulting in death carries

 4   a 20-year statutory mandatory minimum sentence even absent any

 5   aggravating factors.     See United States v. Houston, 406 F.3d 1121,

 6   1124 (9th Cir. 2005) (“[A]s long as death ‘results’ from the use of

 7   a described controlled substance, the person convicted of

 8   distributing the substance’ shall be sentenced to a term of

 9   imprisonment of not less than twenty years or more than life.’”)

10   (quoting 21 U.S.C. § 841(a)(1)(b)(1)(C)).         The guidelines are in

11   accord, providing for a base offense level of 38 before any

12   additional enhancements where distribution results in death or

13   serious bodily injury.     USSG § 2D1.1(a)(2).      One of the purposes of

14   such a serious penalty is to deter drug dealers from distributing

15   drugs that could kill people and to recognize the loss of life that

16   results from such wanton distribution.        Here, the loss of B.M.’s

17   life is shocking and irreversible.         The pain of that loss for her

18   family continues, as evidenced in their eloquent and powerful

19   letters to the Court.     (See Ex. 6.)7

20        Defendant’s conduct--even measured against the backdrop of

21   criminal penalties for distribution resulting in death--is simply in

22   another league of depravity and callous self-interest that merits a

23   correspondingly serious sentence.       See 18 U.S.C. § 3553(a)(1),

24   (a)(2)(A)-(C).    This is so for several reasons and can perhaps be

25   best understood by looking at a chronology of his choices.

26

27
     7 Exhibit 6 is a true and correct copy of letters from B.M.’s family
28   that were provided to the USPO. (See PSR ¶¶ 25-30.)
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 1        First, defendant acted as a predator even at the outset of his

 2   encounter with B.M.     He picked her up on false pretenses, claiming

 3   that he had cocaine when he did not and claiming that he would take

 4   her to Hollywood when he had no intention of doing so.           (PSR ¶¶ 11-

 5   14; Plea Ag. ¶ 19.)     He took her to his house instead of to meet her

 6   friend, as he had promised.      (PSR ¶ 14; Plea Ag. ¶ 19.)       And he told

 7   her friend to lie about whether they were meeting up.           (Ex. 3 at

 8   USAO_OLIVA_002607.)     Even before he gave B.M. the drug, she was

 9   afraid, she wanted to leave, and she believed defendant was not

10   going to let her leave.      (PSR ¶¶ 11-14; Plea Ag. ¶ 19.)

11        Then, defendant knowingly gave her fentanyl without telling her

12   what it was and under circumstances that led her to believe that it

13   was cocaine.    (PSR ¶¶ 15, 37; Plea Ag. ¶ 19.)        He gave her a

14   quantity sufficient to divide into two lines, and he watched her

15   snort it.   (Ex. 4 at USAO_OLIVA_000035.)

16        He then took advantage of her incapacitation, raping her dead

17   or unconscious body.     (PSR ¶ 16; see also Plea Ag. ¶ 19.)         He did

18   not use protection.     (PSR ¶ 16.)    He filmed the rape.      (Id.)   He
19   shared the video online.      (Id.)

20        By no later than 2:22 am, defendant knew that B.M. was “not

21   breathing.”    (PSR ¶ 17; Plea Ag. ¶ 19.)       He left her “not breathing”

22   on his bed while he covered up his own criminal tracks. (PSR ¶¶ 17-

23   21; Plea Ag. ¶ 19.)

24        We will never know whether B.M. was merely unconscious at the

25   time of the rape and could have been resuscitated.          Defendant made

26   it impossible to know.     He was the only one who was present; he was

27   the only one who saw when she was not breathing; and he was the only

28   one who could have acted, yet he did nothing for her.           Instead, he

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 1   gathered evidence of his illegal conduct and hid it in his

 2   girlfriend’s car, and then he hid the car.         (PSR ¶ 14; Plea Ag.

 3   ¶ 19.)    He hid not only evidence of his own drug trafficking, he hid

 4   evidence of B.M.’s possessions and identity, including her purse and

 5   her cell-phone.    (Ex. 4 at USAO_OLIVA_000035-37.)        Later, even

 6   though defendant had access to her driver’s license, officers used

 7   the internet to try to find B.M.’s workplace to learn B.M.’s full

 8   name.    (Ex. 4 at USAO_OLIVA_000027.)      Defendant was sitting on that

 9   information.    It was in the trunk of his girlfriend’s car where he

10   put her purse and cell phone after he knowingly gave her the drug

11   that caused her death.     He lied about all of it to protect himself.

12           When police arrived, defendant’s conduct was no better.

13   Defendant lied extensively and repeatedly to police.           Defendant lied

14   about the drugs, including saying B.M. had brought her own. (PSR

15   ¶¶ 32, 34.)     Defendant lied about the sex, claiming to have had

16   consensual sex with B.M. in multiple positions, listing them at

17   nauseating length, claiming that B.M. was “into it” and that she was

18   “moaning” and “moving around.” (PSR ¶ 35; Ex. 4 at

19   USAO_OLIVA_000026-27.) Defendant lied about the evidence, claiming

20   that he drove his brother’s truck, did not have his girlfriend’s car

21   keys, and was holding drugs for a friend, among other things.            (PSR

22   ¶¶ 32-39.)

23           Given a few days to reflect following arrest, defendant dug

24   deeper, directing his girlfriend to destroy evidence of his own

25   criminal conduct.     (PSR ¶ 24; Plea Ag. ¶ 19.)

26           At decision after decision, defendant made choices that further

27   harmed the victim and frustrated the investigation in an attempt to

28   help, or gratify, himself.      Defendant’s deliberate, predatory, self-

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 1   serving, and remorseless behavior demonstrates his significant

 2   danger to the community, the need for deterrence, to promote respect

 3   for the law, and to provide just punishment, and merits a sentence

 4   of 420 months.    See 18 U.S.C. § 3553(a)(1), (a)(2)(A)-(C).

 5        There are no mitigating factors that counsel for a lower

 6   sentence.   In particular, any argument premised on defendant’s lack

 7   of criminal history should be disregarded.         Defendant’s criminal

 8   history score is contemplated in his guidelines range, which because

 9   of the serious nature of his conduct, is life imprisonment.

10   Further, a lack of criminal history does not necessarily signify a

11   lack of criminal conduct.      Here, Defendant was a known source of
12   cocaine to M.B. (See PSR ¶ 10; Plea Ag. ¶ 19.)          Defendant’s pay/owe
13   sheets indicate that he had regular customers and that he knew
14   street prices and street language for drugs.         (Ex. 5.)    The ledger
15   shows more than 20 transactions in February leading up to B.M.’s
16   death.   (Id.)   Further, defendant was not only a drug dealer, he was
17   armed for that purpose.      As defendant admitted in his plea
18   agreement, he carried the firearm found in the trunk of the Camry in
19   furtherance of his drug trafficking.        (Plea Ag. ¶ 19.)

20        Defendant was a drug dealer, and he made a living that way.               In

21   his interview with USPO, defendant claimed to have been employed by

22   his brother from 2018 on, yet he “could not recall the name of the

23   company.”   (PSR ¶ 93.)    The contention, like so many of defendant’s

24   statements, is simply a cover for misconduct.          Defendant made a

25   living by selling drugs.

26        There is also no plausible argument that defendant’s abhorrent

27   conduct was aberrational or solely in response to the exigency of

28   B.M.’s death.    To be sure, the circumstances were extreme.          A woman

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 1   died in his residence.     But as noted, even before that happened,

 2   defendant’s conduct revealed a predatory and prevaricating nature.

 3   He lied about having cocaine.       He took B.M. to his house against her

 4   wishes and expectations.      Once there, he offered her a line that she

 5   expected would be cocaine, but which defendant alone knew was

 6   fentanyl.   All of this preceded any arguable response to exigency.

 7   This was the conduct that brought the victim within his reach.

 8        Once B.M. passed out or died, defendant then made a series of

 9   decisions that demonstrate an alarming defect in both decision-

10   making and empathy and cannot be plausibly characterized as a

11   response to the exigency of unexpected death.          It is not a plausible

12   response to exigency to rape an unconscious woman.          It not a

13   plausible response to exigency to post vides of the rape to

14   Snapchat.   It is not a plausible response to exigency to send a

15   cover-up text to your victim’s friend, asking with light-hearted

16   pretense “she is not breathing . . . does she do this often[?]”

17   Likewise, exigency does not excuse ignoring a dead or dying person

18   in your bedroom for six hours while you cover your tracks.            Exigency

19   does not excuse using your girlfriend’s car to hide the evidence of

20   your criminal conduct.     Exigency by no means excuses bragging to law

21   enforcement about the positions you used when you slept with the

22   woman you raped as she was incapacitated.         Exigency does not excuse

23   soliciting your girlfriend to destroy evidence six days later.

24        All of this conduct, from B.M.’s death to the jailhouse call to

25   his girlfriend, took place over days.        Defendant’s lies to law

26   enforcement took place across four interviews spanning hours.

27   Defendant subsided in his lies only when confronted with

28   contradictory evidence.      As just one example of his brazen

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 1   willingness to lie to cover his tracks, he told police that he did

 2   not have the car keys that were in his pocket as he was speaking.

 3        As Maya Angelou said, “When someone shows you who they are,

 4   believe them.”    The events here provide telling insight into

 5   defendant’s character.     He lied to get B.M. to his apartment; he

 6   lied about the drugs that caused her death; he violated her dead or

 7   unconscious body; and he left her, dead or dying for six hours.

 8   Compounding these indignities and disgraceful choices, defendant

 9   then lied to cover his tracks.       Defendant has shown who he is

10   through choice after choice after choice.         Nothing less than a 420-

11   month sentence is appropriate here.

12   V.   CONCLUSION

13        As set forth above, the government recommends that the Court

14   sentence defendant to 420 months’ imprisonment, a

15   five-year term of supervised release, and a mandatory special

16   assessment of $200.

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